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                             UNITED STATES DISTRICT COURT
 9                          EASTERN DISTRICT OF WASHINGTON
10
      UNITED STATES OF AMERICA,                )
11                                             )     No. CR-05-168-LRS-1
                          Plaintiff,           )
12                                             )     ORDER GRANTING THE UNITED
      v.                                       )     STATES’ MOTION TO CONTINUE
13                                             )     AND DENYING DEFENDANT’S
      VERN EDWARD BOYD,                        )     MOTION TO RECONSIDER
14                                             )
                          Defendant.           )
15                                             )

16         At the December 13, 2005, hearing on Defendant's Motion to

17   Reconsider    (Ct.    Rec.   46),     counsel    David    Miller   appeared      with

18   Defendant; Assistant U.S. Attorney Stephanie J. Lister represented

19   the United States.

20         The United States objected to Defendant’s pretrial release and

21   orally moved for a continuance of the hearing to permit witness

22   attendance.    The oral Motion to continue (Ct. Rec. 52) was GRANTED,

23   and the hearing was continued to December 15, 2005.

24         At the December 15, 2005, hearing, Assistant U.S. Attorney

25   Stephanie A. Whitaker represented the United States; Defendant was

26   present with counsel David Miller.              Detectives Jay McNall and Jay

27   Mehring testified and were cross-examined.

28         There was testimony that shortly after Defendant’s previous

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     CONTINUE AND DENYING DEFENDANT’S MOTION TO RECONSIDER - 1
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 1   counsel showed Defendant discovery in the captioned matter, which
 2   revealed the confidential informant’s name, that the confidential
 3   informant received a threat to his place of business, specifically
 4   spray paint of “snich [sic] 187,” which the testimony reflects is
 5   indicative of a murder threat.             This individual has stated to the
 6   investigative agent that he is in fear of Defendant.                     There was
 7   testimony   that   Defendant     had       been   a   “right   hand   man”   and   an
 8   “enforcer,”    whose     job   was    to    intimidate     and   assault     for   an
 9   individual previously convicted for felony unlawful controlled
10   substance charges.       Defendant has a history of assault charges, as
11   well as history of failures to appear.
12         While the undersigned concludes there may be a combination of
13   conditions to reasonably assure the court that Defendant is not a
14   risk of non-appearance, including electronically monitored home
15   detention, structured chemical dependence counseling, and corporate
16   surety bond, the undersigned concludes at this time that the United
17   States has met its burden as to risk to the community.
18         IT IS ORDERED the Defendant’s Motion (Ct. Rec. 46) is DENIED.
19         DATED December 15, 2005.
20
21                               S/ CYNTHIA IMBROGNO
                            UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING THE UNITED STATES’ MOTION TO
     CONTINUE AND DENYING DEFENDANT’S MOTION TO RECONSIDER - 2
